 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 1 of 10 PageID #: 73



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                  CR 19-40015

                   Plaintiff,               PLEA AGREEMENT

        vs.

 PAUL ERICKSON,

                   Defendant.



      The Defendant, the Defendant's attorney, and the United States Attorney

for the District of South Dakota hereby submit the following Plea Agreement to

the United States District Court, which Agreement was reached pursuant to

discussions between the United States Attorney and the Defendant's attorney.

The Agreement is as follows:

       1.     ACKNOWLEDGMENT AND WAIVER OF RIGHTS AND UNDER-

STANDING OF MAXIMUM PENALTIES:                The Defendant agrees that he has

been fully advised of his statutory and constitutional rights herein, and that he

has been informed of the charges and allegations against him and the penalty

therefor, and that he understands same. The Defendant further agrees that he

understands that by entering a plea of guilty as set forth hereafter, he will be

waiving certain statutory and constitutional rights to which he is otherwise

entitled.

                                        1
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 2 of 10 PageID #: 74



      2.     PLEA AGREEMENT PROCEDURE:              The United States and the

Defendant agree that this Plea Agreement is presented to the Court pursuant to

Rule 1 l(c)(l)(A) of the Federal Rules of Criminal Procedure, which authorizes

the United States to agree that it will not bring, or will move to dismiss, other

charges.   The Court may accept this agreement, reject it, or defer a decision

until the Court has reviewed the pre sentence report.

      3.     PLEA OF GUILTY TO CHARGES AND DISMISSAL OF OTHER

CHARGES:       The Defendant will plead guilty to Counts 1 and 8 of the

Indictment filed in this case.   Count 1 charges Wire Fraud in violation of 18

U.S.C. § 1343, and Count 8 charges Money Laundering in violation of 18

U.S.C. § 1956(a)(l)(A)(i).

      Count 1 carries a maximum sentence of 20 years in prison, a $250,000

fine, or both, and 3 years of supervised release.

      Count 8 carries a maximum sentence of 20 years in prison, a $500,000

fine, or both, and 3 years of supervised release. If the Defendant is found by a

preponderance of evidence to have violated a condition of supervised release,

he may be incarcerated for an additional term of up to 3 years on any such

revocation. There is a $100 assessment per count to the Victims' Assistance

Fund, for a total of $200. Restitution may also be ordered.

      Upon acceptance of the plea by the Court and the imposition of sentence,

this section shall be treated as a motion to dismiss the remaining counts in the



                                        2
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 3 of 10 PageID #: 75



Indictment as they pertain to the Defendant pursuant to the terms of this Plea

Agreement.

      4.     VIOLATION OF TERMS AND CONDITIONS:                           The Defend ant

acknowledges and understands that if he violates the terms of this Plea

Agreement, engages in any further criminal activity, or fails to appear for

sentencing, this Plea Agreement shall become voidable at the discretion of the

United States and the Defendant will face the following consequences:

      (1)    All testimony and other information the Defendant has provided at

any time to attorneys, employees, or law enforcement officers of the United

States, to the Court, or to the federal grand jury may and will be used against

him in any prosecution or proceeding.

      (2)    The United States will be entitled to reinstate previously dismissed

charges and/ or pursue additional charges against the Defendant, and to use

any information obtained directly or indirectly from him in those additional

prosecutions.

      (3)    The   United   States   will       be   released     from   any   obligations,

agreements, or restrictions imposed upon it under this Plea Agreement.

      5.     ACCEPTANCE OF RESPONSIBILITY:                      The United States agrees

that based upon the information known to it at this time, the Defendant is

entitled to a two-level decrease in his offense level pursuant to U.S.S.G.

§ 3E 1.1 (a), provided no evidence is disclosed in the presentence report which

indicates the Defendant has not demonstrated a recognition and affirmative

                                            3
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 4 of 10 PageID #: 76



acceptance of personal responsibility for his criminal conduct, and further

provided he:   (1) complies with the terms of this Plea Agreement; (2) testifies

truthfully during the change of plea hearing; (3) participates truthfully with the

Probation Office in the presentence investigation; (4) does not violate any

conditions of pretrial detention or release after he signs this agreement; and

(5) continues to exhibit conduct consistent with acceptance of responsibility.

Both the United States and the Defendant otherwise reserve the right to

present evidence and make argument regarding sentencing.

      6.     TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States

agrees that the Defendant has timely notified authorities of his intention to

enter a plea of guilty thereby permitting the United States and the Court to

allocate their resources efficiently . Therefore, if the offense level determined

prior to the operation of U.S.S.G. § 3El. l(a) is level 16 or greater and the

Defendant qualifies for a two-level decrease under U.S.S.G. § 3El. l(a), this

provision shall be treated at the sentencing hearing as a motion pursuant to

U.S.S.G. § 3El. l(b) to decrease the offense level by one additional level.

      7.     STIPULATED OFFENSE LEVEL: It is further understood that in

connection with the Defendant's plea and sentencing, the United States and

the Defendant stipulate that the base offense level upon which the Defendant's

sentence is to be initially calculated, pursuant to U.S.S.G. § 2Bl. l(a)(l), is 7; it

is further stipulated that pursuant to U.S.S.G. § 2Bl. l(b)(l)(I) , the offense level

should be increased by 16, in that the loss associated with Defendant's count

                                         4
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 5 of 10 PageID #: 77



of conviction and relevant conduct was more than $1,500,000, but less than

$3 ,500,000.    The Adjusted Offense Level total is 23.       After acceptance of

responsibility as agreed to in sections 5 and 6 above, the Total Offense Level is

a level 20. The Defendant understands that this stipulation is not binding

upon the Court. The Defendant further understands that should the Court not

follow the terms of this stipulation and agreement, he will not be allowed to

withdraw his plea.

      8.       GOVERNMENT'S RECOMMENDATION REGARDING SENTENCE

- WITHIN THE GUIDELINE RANGE: The Defendant and the United States

understand and agree that the Court will determine the applicable Guideline

range after reviewing the pre sentence report and considering any evidence or

arguments submitted at the sentencing hearing. The United States agrees that

it will recommend that the Court impose a sentence of imprisonment within the

applicable     Guideline   range.   The       Defendant   understands   that   any

recommendation made by him or the United States is not binding on the Court.

The Defendant further understands that he may not withdraw his plea of guilty

if the Court rejects any recommendation.

      The United States reserves the right to present evidence and argument as

to what it believes the applicable Guideline range should be and to respond to

any request for a sentence below the applicable Guideline range.          For the

purposes of this agreement, the "applicable Guideline range" is the range found

by the Court by reference to the Sentencing Table at U.S.S.G. § SA based on

                                          5
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 6 of 10 PageID #: 78



the Defendant's total offense level and criminal history before adjustments, if

any, are made based on a downward departure, an 18 U.S.C. § 3553(e)

sentencing factor, or other variance.

      9.    SPECIAL ASSESSMENT:          The Defendant agrees to remit to the

U.S. Clerk of Court, 400 S. Phillips Avenue, Sioux Falls, SD 57104, no later

than two weeks prior to sentencing, a certified or cashier's check payable to the

"U.S. Clerk of Court" in the amount of $200, in full satisfaction of the statutory

costs pursuant to 18 U.S.C. § 3013.

      10.   RESTITUTION - AGREEMENT TO PAY: Pursuant to 18 U.S.C.

§§ 3663 and 3663A, Defendant agrees that the amount of restitution is not

restricted to the amounts alleged in the count to which Defendant is pleading

guilty, or the facts that he is admitting to support the factual basis statement,

and may include losses arising from charges not prosecuted, as well as other

relevant conduct associated with the Defendant's criminal conduct.            The

parties specifically agree that the Court may order restitution to victims other

than the offense of conviction, because it has been "agreed to by the parties in

a plea agreement," pursuant to 18 U.S.C. §§ 3663(a)(3) and 3663A(a)(3).

      11.   MONETARY OBLIGATIONS - DEFENDANT'S ONGOING DUTY:

The Defendant agrees, if requested by the United States, to promptly return an

executed Authorization to Release Financial Records and Documents, an

executed Authorization to Release Tax Returns and Attachments, current

earnings statements, copies of his W-2s, and an executed Financial Statement.

                                        6
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 7 of 10 PageID #: 79



The Defendant understands that this is an ongoing duty which begins upon

execution of this plea agreement and continues until such time as payment of

any financial obligation is remitted in full.

      The Defendant agrees to assist the United States in identifying, locating,

returning, and transferring assets for use m payment of any financial

obligations imposed as part of the sentence m this case.              The Defendant

expressly authorizes the United States Attorney's Office to obtain credit reports

on him prior to judgment.

      The Defendant also agrees that if he is incarcerated, he will participate in

the Bureau of Prisons' Inmate Financial Responsibility Program during any

period of incarceration in order to pay any financial obligations ordered by the

Court.     The Defendant's agreement to participate in the Inmate Financial

Responsibility Program does not limit the United States' right to pursue

collection from other available sources.        If there is no period of incarceration

ordered, the Defendant agrees that payment of any financial obligations

ordered by the Court shall be a condition of probation.

         12.   RESERVING THE RIGHT TO REBUT OR CLARIFY MITIGATION

INFORMATION:        The United States reserves the right to rebut or clarify

matters set forth in the presentence investigation report, or raised by the

Defendant in mitigation of his sentence, with evidence and argument.

         13.   NO FURTHER PROSECUTION:               The United States agrees that

there ·will be no further federal criminal prosecution of the Defendant in the

                                          7
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 8 of 10 PageID #: 80



District of South Dakota based on the information and evidence now available

to the United States regarding the Defendant's involvement with the offenses

charged in the Indictment.

      14.    BASIS FOR PLEA OF GUILTY:            The Defendant agrees that the

statement of facts, signed by the parties and incorporated herein by this

reference, provides the basis for his guilty plea in this case, and is a true and

accurate statement of his actions or omissions with regard to the charges to

which he is entering a plea, and that the Court may rely thereon in determining

the basis for his plea of guilty as provided for in this Plea Agreement.

      15.   WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any

rights to a speedy trial under either the United States Constitution or the

Speedy Trial Act.    This waiver 1s necessary so that the Court will have the

benefit of all relevant information at sentencing.

      16.   PARTIES BOUND:        It is further understood and agreed that this

agreement is limited to the United States Attorney's Office for the District of

South Dakota, and that this agreement cannot and does not bind other federal,

state, or local prosecuting authorities.

      17.   SCOPE OF AGREEMENT:                This agreement shall include any

attachments, exhibits or supplements designated by the parties. It is further

understood and agreed that no additional promises, agreements, or conditions

have been entered into other than those set forth in this agreement, and this

agreement supersedes any earlier or other understanding or agreement.

                                           8
 Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 9 of 10 PageID #: 81



         18.   WAIVER OF DEFENSES AND APPEAL RIGHTS:            The Defendant

hereby waives all defenses and his right to appeal any non-jurisdictional

issues.    The parties agree that excluded from this waiver is the Defendant's

right to appeal any decision by the Court to depart upward pursuant to the

sentencing guidelines as well as the length of his sentence for a determination

of its substantive reasonableness should .the Court impose an upward

departure or an upward variance pursuant to 18 U.S.C. § 3553(a).

                     SUPPLEMENT TO PLEA AGREEMENT

        The United States will file a Supplement to Plea Agreement which is

required to be filed in every case in compliance with the Court's Standing

Order.

                                     RONALD A. PARSONS, JR.
                                     United States Attorney



Al,~ t>,u,q
Date                                 Je~      .Clapper
                                     Assistant United States Attorney
                                     P.O. Box 2638
                                     Sioux Falls, SD 57101-2638
                                     Telephone: (605) 357-2351
                                     Facsimile: (605) 330-4410
                                     E-Mail: Jeff.Clapper@usdoj.gov

APPROVED:
RONALD A. PARSONS , JR.
United States Attorney
By: ~


~
Chief, Criminal Division
                                       9
Case 4:19-cr-40015-KES Document 29 Filed 11/18/19 Page 10 of 10 PageID #: 82




   !I/JS /J<f
Date                              Paul Erickson
                                  Defendant




   /I- IS- -- !'1
Date                              Clint L. Sargent
                                     orney for Defen




                                    10
